 Case 1:20-cr-00023-H-BU Document 191 Filed 10/05/20               Page 1 of 1 PageID 368



                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    ABILENE DIVISION

I.JNITED STATES OF AMERICA,
   Plaintiff,

                                                           NO. 1:20-CR-023-01-H

TAKIYA RENEE LEE          (1),
     Defendant.


              OR"DER ACCEPTING REPORT AND RECOMMENDATION
                  OF TIIE I.IYITED STATES MAGISTRATE JI'DGE
                              CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry

of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

Conceming Plea of Guilty of the United States Magisuate Judge, and no objections thereto

having been filed within fourteen (14) days of service in accordance with 28 U.S.C.

$   636(bxl), the undersigned District Judge is ofthe opinion that the Report and

Recommendation of the Magistrate Judge conceming the Plea of Guilty is conect, and it is

hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

Defendant is hereby adjudged guilty.

         Sentence will be imposed in accordance with the Court's scheduling order.

         SO ORDERED.

         Dated october   f,      2020.




                                             JAMES       SLEY HENDRIX
                                             UNI       STATES DISTRICT JUDGE
